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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF VERMONT

 

 

GARRET SITTS, et al.,
Plaintiffs,

Civil Action No. 2:16-cv-00287-cr

DAIRY FARMERS OF AMERICA, INC. and
DAIRY MARKETING SERVICES, LLC,

Defendants.

 

 

 

DECLARATION OF W. TODD MILLER

I, W. Todd Miller, do declare and state as follows:

l. Tama partner with the law firm of Baker & Miller PLLC, which has been retained by
Dairy Farmers of America, Inc. and Dairy Marketing Services, LLC (collectively “DFA”) in
connection with this Action. I submit this declaration in support of DFA’s concurrently filed
Motion In Limine No. 9: To Preclude Evidence and Argument That DFA is Not an Agricultural
Cooperative Operated for the Mutual Benefit of Its Members Under the Capper-Volstead Act.

2. Attached as Exhibit 1 is a true and accurate copy of the USDA’s 1968 certification
that Mid-America Dairymen is a cooperative marketing association qualified under the
provisions of the Capper-Volstead Act, a determination required under the USDA’s regulations
implementing the Agricultural Marketing Agreement Act of 1937.

3, Attached as Exhibit 2 is a true and accurate copy of the USDA’s 1998 certification
that Mid-America Dairymen, after changing its name to DFA, continues to be a cooperative
marketing association qualified under the provisions of the Capper-Volstead Act, a
determination required under the USDA’s regulations implementing the Agricultural

Marketing Agreement Act of 1937.
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4. Attached as Exhibit 3 is a true and accurate copy of the USDA’s List of Cooperative
Milk Marketing Associations Holding Determinations of Qualification Under the Agricultural
Marketing Agreement Act of 1937, as amended as of May 27, 2020, showing DFA’s current
qualification. The USDA’s full list is available at
https://www.ams.usda.gov/sites/default/files/media/QualifiedCooperativeMilkMarketingAss
ociations.pdf (retrieved June 14, 2020).

I declare under penalty of perjury under the laws of the United States that the foregoing

is true and correct.

LoseAd C2

Dated: June 15, 2020
